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                                                                                    2023 Sep-14 PM 05:19
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION



    IN RE REDISTRICTING 2023

    SPECIAL MASTER                                Misc. No. 2:23-mc-1181-AMM




                  SECRETARY ALLEN’S COMMENTS TO
                 PROPOSED MORIARTY REMEDIAL PLANS

      Michael Moriarty submitted three proposed remedial plans that were placed

on the docket in this proceeding earlier today. See Doc. 26. Each plan is flawed.

      As the Secretary explained yesterday, any court-drawn remedial plan must

keep in place the existing 2023 Plan, except to the extent necessary to comply with

the District Court’s injunction. The District Court’s “remedial authority” is still “lim-

ited” in these circumstances. North Carolina v. Covington, 138 S. Ct. 2548, 2554

(2018). A district court cannot “override the legislature’s remedial map” in a way

that goes beyond what is necessary to meet the demands of federal law. Id. Once the

violation has been remedied, the District Court’s “proper role in” Alabama’s “dis-

tricting process [i]s at an end.” Id. at 2555.

      The Moriarty Plans significantly depart from the 2023 Plan’s lines for all

seven districts, split numerous communities of interest, split more counties than

needed to satisfy the requirement of equal population, and sacrifice compactness
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without explaining why such departures from the 2023 Plan are “necessary to meet

the specific … violations involved.” Upham v. Seamon, 456 U.S. 37, 42 (1982).

Likewise, Moriarty has not shown that the use of race in his remedial plans was

“narrowly tailored to comply with § 2.” Bush v. Vera, 517 U.S. 952, 982 (1996)

(plurality).


                                  Respectfully Submitted,

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                                 Counsel for Secretary Allen




                       CERTIFICATE OF SERVICE

     I hereby certify that on September 13, 2023, I filed the foregoing using

the Court’s CM/ECF system, which will serve all counsel of record.

                                   /s/ Edmund G. LaCour Jr.
                                   Counsel for Secretary Allen




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